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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA DIVISION


   UNITED STATES, et al.,
                                                           No. 1:23-cv-00108-LMB-JFA
                   Plaintiffs,
           v.

   GOOGLE LLC,

                   Defendant.


   SPECIFIC OBJECTIONS OF NON-PARTY ZEDO, INC. TO USE OF CONFIDENTIAL
                  DOCUMENTS OR INFORMATION AT TRIAL

          Pursuant to this Court’s Order (Dkt. 871) and Local Rule 5(H), Non-Party Zedo, Inc.

  (“Zedo”) respectfully files these specific objections to the use of Zedo confidential documents or

  information at the trial of this case, and in support thereof, states as follows:

                                            BACKGROUND

          Zedo is a privately held company. See July 26, 2024 Declaration of Roy de Souza,

  attached hereto as Exhibit 1. On May 23, 2024, Mr. de Souza, the CEO of Zedo, received an

  email from the U.S. Department of Justice (“DOJ”) informing him about Confidential Zedo

  information that was being maintained under seal in the above-captioned case, but also informing

  him that unless Zedo took steps to request the Court to continue to maintain that Confidential

  Information under seal, there was a possibility that the Confidential Zedo Information would not

  stay under seal and instead would be made public. A Copy of the email was attached as Exhibit 2

  to Non-Party Zedo’s Response In Support Of Plaintiffs’ And Defendant’s Motions To Seal. Dkt.

  842.




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          Plaintiffs have now identified to counsel for Zedo 13 potential trial exhibits relating to

  Zedo, and Google has indicated that it does not intend to introduce any information at trial

  regarding Zedo. 1 Plaintiffs proposed exhibits are all documents that include information from

  documents produced by Zedo in response to federal subpoenas that were marked as Confidential

  or Highly Confidential.

          The Zedo proposed trial exhibits include take rates, market share, ad spend, competitive

  trending information, and competitive position and other highly confidential, proprietary and

  competitively sensitive financial and other information. Id. ¶ 4. This information constitutes

  confidential financial and business information that, if disclosed, would likely cause irreparable

  harm to Zedo, including but not limited to loss of competitive advantage and financial harm. Id.

  ¶ 5.

          This information is not available to the public and would be of significant benefit to

  competitors of Zedo. Id. ¶ 6.

          Although Plaintiffs have declined to provide unredacted versions to counsel for Zedo of

  the documents that Plaintiffs say they may use at trial, Zedo has attempted as best it can to

  carefully review these proposed exhibits and made good faith efforts to identify narrowly

  tailored redactions that protect Zedo’s commercially sensitive business information, while also

  permitting public disclosure of the vast majority of the documents and the information contained

  therein.2


          1 Both Plaintiffs and Google reserved the right to amend their exhibit list and use

  additional exhibits at trial, including for impeachment. See Plaintiffs’ Trial Exhibit List at 1, Dkt.
  892; Defendant Google LLC’s Trial Exhibit List at 1, Dkt. 894. Zedo accordingly reserves the
  right to object to any new or additional proposed use of its confidential information at trial. Zedo
  also reserves the right to object to the use of any of its documents or information at trial.
  2 Because Zedo does not have access to the unredacted trial exhibits, and is thus unable to

  provide such documents to the Court, Zedo respectfully requests that Plaintiffs and Google be
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  After conferring with the parties, and consistent with this Court’s instruction, Zedo now

  respectfully requests very limited redactions to the exhibits that Plaintiffs and Google say they

  will use at trial, specifically to only include the redaction of any identification of Zedo as a

  referenced exchange in any of the proposed exhibits (or the use of a surrogate name, such as

  ABC, Inc.).

         Zedo respectfully submits that this is very reasonable procedure to avoid the significant

  harm, prejudice and competitive disadvantage that Zedo (and other non-parties) will suffer if

  such redaction is not required, and is completely consistent with Judge Anderson’s ruling of July

  11, 2024 in Dkt. 903, which stated: “In order to protect the interest of non-parties, the portions of

  figures 4, 5, 7 and 8 indicating the names of the companies corresponding to those figures shall

  remain under seal,” and “the names of the non-parties are to be redacted” from the public

  versions of the documents. See Order at Dkt. 903, ¶ 2; see also Id. ¶¶ 4, 6, 8, 11, and 15. See

  also July 26, 2024 Declaration of Roy de Souza (incorporated herein by reference) (Exhibit 1)

  that articulates the specific harm, prejudice and competitive disadvantage that Zedo would suffer,

  on a document by document basis, should Zedo’s confidential and proprietary business

  information and competitively sensitive information become public, and available to its

  competitors.

         Zedo also notes that it would indeed be a perverse result if a governmental antitrust

  enforcement action was to cause harm, prejudice and competitive disadvantage to the innocent



  ordered to provide unredacted copies of all such exhibits to the Court in camera if the Court
  believes that having unredacted versions of the proposed exhibits would aid the Court in
  evaluating Zedo’s Specific Objections. In addition, should the Court believe that Zedo has failed
  to meet its burden regarding the relief requested, Zedo respectfully requests that Plaintiff’s and
  Google be ordered to provide unredacted copies of all such exhibits to Zedo and its counsel, so
  that additional arguments and information may be provided to the Court.

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  competitors (here, the non-parties) of the targeted enterprise (here, Google) in the very industry

  that the enforcement action is designed to protect (here, the ad tech business).

                                         LEGAL STANDARDS

          “Trial exhibits, including documents previously filed under seal, and trial transcripts will

  not be filed under seal except upon a showing of necessity demonstrated to the trial judge.”

  Local Civ. R. 5(H). When “efforts are made to seal documents offered into evidence before a

  court in the course of a public jury trial,” the “First Amendment guarantee of public access, with

  its attendant requirement to weigh competing interests, applies.” Level 3 Commc’ns, LLC v.

  Limelight Networks, Inc., 611 F. Supp. 2d 572, 579 (E.D. Va. 2009). The district court must give

  “the public notice of the request to seal and a reasonable opportunity to challenge the request,”3

  “consider less drastic alternatives to sealing,” and, “if it decides to seal it must state the reasons

  (and specific supporting findings) for its decision and the reasons for rejecting alternatives to

  sealing.” Va. Dep’t of State Police v. Wash. Post, 386 F.3d 567, 576 (4th Cir. 2004) (citing

  Stone v. Univ. of Maryland Med. Sys. Corp., 855 F.2d 178, 181 (4th Cir. 1988)). “When the First

  Amendment provides a right of access, a district court may restrict access only on the basis of a

  compelling governmental interest, and only if the denial is narrowly tailored to serve that

  interest.” Id. at 575 (internal quotation markets and citation omitted). “One exception to the

  public’s right of access” to judicial proceedings, including trials, applies when “such access to

  judicial records could provide ‘a source[] of business information that might harm a litigant’s

  competitive standing.’” Woven Elecs. Corp. v. Advance Grp., Inc., 930 F.2d 913 (4th Cir. 1991)

  (quoting Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598, (1978)).


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            “Here, public notice of filing the exhibits under seal [is] achieved by [Zedo’s] public
  filing of [this request to seal] and [its] memorand[um] in support.” Abu-Eid v. Discover Prod.,
  Inc., No. 1:20-CV-1450, 2021 WL 9969142, at *1 (E.D. Va. June 2, 2021).

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                                            ARGUMENT

  I.     The Court Should Permit Very Limited Redactions to the Exhibits that Relate to
         Zedo to Prevent the Disclosure of Zedo’s Confidential Information

         Zedo only requests the redaction of Zedo’s name from the proposed trial exhibits of

  Plaintiffs, or alternatively that a surrogate name be used, such as ABC, Inc. There is absolutely

  no need for Zedo’s name to be used in these documents, and this very simple redaction will spare

  Zedo the significant harm, prejudice and competitive disadvantage that will occur if Zedo’s

  confidential and proprietary competitive business information is disclosed to its competitors, and

  the public. As explained in more detail below with respect to each document, Zedo would be put

  at a competitive disadvantage if this internal data were exposed. See East West, LLC v. Rahman,

  2012 WL 3841401, at *3 (E.D. Va. Sept. 4, 2012) (granting motion to seal expert reports

  containing “confidential business information and other trade secret protected information,”

  including “sensitive financial data . . . the disclosure of which would be highly likely to cause

  significant harm to the business competitive position of [the] part[y]”); Rxd Media, LLC v. IP

  Application Dev. LLC, 2019 WL 8112894, at *1 (E.D. Va. June 10, 2019) (allowing redaction of

  “confidential and proprietary information, including Apple’s branding processes, trademark

  search strategies, and steps it takes to protect intellectual property when launching new products

  and services”) (internal quotation omitted).

         Plaintiffs Trial Exhibits Regarding Zedo

         Counsel for Plaintiffs has indicted to counsel for Zedo that Plaintiffs may use the exhibits

  identified below at trial that reference Zedo, and/or Zedo’s commercially sensitive business

  information. For each such proposed exhibit, Zedo states the following specific objections,

  incorporates Mr. de Souza’s July 26, 2024 Declaration by reference, and asserts that Zedo’s

  proposal to redact Zedo’s name is the most narrowly tailored procedure to avoid the harm,


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  prejudice and competitive disadvantage to Zedo if the materials were made public without

  redacting Zedo’s name (or using a surrogate name, like ABC, Inc.):


  PTX1239 Figure 49, Initial Expert Report of Robin S. Lee AdX earns consistently high net
  revenues from the sale of worldwide indirect open‐web display impressions (2018–2022). This
  document includes information regarding Zedo’s net revenues, which constitutes highly
  confidential and competitively sensitive information that is not public, the disclosure of which
  would likely cause irreparable harm to Zedo, including the loss of competitive advantage and
  financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 8).


  PTX1240 Figure 50, Initial Expert Report of Robin S. Lee AdX maintains a significant share of
  ad exchange fees from worldwide indirect open‐web display transactions (2018–2022). This
  document includes information regarding Zedo’s ad exchange fees (revenues), which constitutes
  highly confidential and competitively sensitive information that is not public, the disclosure of
  which would likely cause irreparable harm to Zedo, including the loss of competitive advantage
  and financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 9).


  PTX1262 Figure 92, Initial Expert Report of Robin S. Lee AdX earns consistently high net
  revenues from the sale of US indirect open‐web display impressions (2018–2022). This
  document includes information regarding Zedo’s net revenues, which constitutes highly
  confidential and competitively sensitive information that is not public, the disclosure of which
  would likely cause irreparable harm to Zedo, including the loss of competitive advantage and
  financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 10).


  PTX1263 Figure 93, Initial Expert Report of Robin S. Lee AdX maintains a substantial share of
  ad exchange fees from US indirect open‐web display impressions(2018–2022). This document
  includes information regarding Zedo’s market share of ad exchange fees (revenue), which
  constitutes highly confidential and competitively sensitive information that is not public, the
  disclosure of which would likely cause irreparable harm to Zedo, including the loss of
  competitive advantage and financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶
  11).


  PTX1265 Figure 95, Initial Expert Report of Robin S. Lee AdX maintains a substantial share of
  worldwide indirect open‐web display spend transacted through ad exchanges (2018–2022). This
  document includes information regarding Zedo’s market share of ad spend, which constitutes -
  highly confidential and competitively sensitive information that is not public, the disclosure of
  which would likely cause irreparable harm to Zedo, including the loss of competitive advantage
  and financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 12).




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  PTX1266 Figure 96, Initial Expert Report of Robin S. Lee AdX maintains a significant share of
  US indirect open‐web display spend. This document includes information regarding Zedo’s
  market share of ad spend, which constitutes highly confidential and competitively sensitive
  information that is not public, the disclosure of which would likely cause irreparable harm to
  Zedo, including the loss of competitive advantage and financial harm. See July 26 Declaration of
  Roy de Souza (Exhibit 1 ¶ 13).


  PTX1280 Figure 110, Initial Expert Report of Robin S. Lee Summary of worldwide open‐web
  indirect display take rates among ad exchanges. This document includes information regarding
  Zedo’s “take rates,” which constitute highly confidential and competitively sensitive information
  that is not public, the disclosure of which would likely cause irreparable harm to Zedo, including
  the loss of competitive advantage and financial harm. See July 26 Declaration of Roy de Souza
  (Exhibit 1 ¶ 14).


  PTX1293 Figure 123, Initial Expert Report of Robin S. Lee AdX maintains a significant share of
  ad exchange fees from worldwide indirect open‐web display transactions (2018–2022). This
  document includes information regarding Zedo’s market share of revenues, which constitutes
  highly confidential and competitively sensitive information that is not public, the disclosure of
  which would likely cause irreparable harm to Zedo, including the loss of competitive advantage
  and financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 15).


  PTX1295 Figure 125, Initial Expert Report of Robin S. Lee AdX earns consistently high net
  revenues from the sale of US indirect open‐web display impressions (2018–2022). This
  document includes information regarding Zedo’s market share of revenues, which constitutes -
  highly confidential and competitively sensitive information that is not public, the disclosure of
  which would likely cause irreparable harm to Zedo, including the loss of competitive advantage
  and financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 16).


  PTX1306 Figure 137, Initial Expert Report of Robin S. Lee Monthly coverage of exchanges that
  produced data (impressions). Zedo is unable to determine the substance of the document based
  on the description provided, and requests that an unredacted version be produced by Plaintiffs for
  evaluation and objection as necessary. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 17).


  PTX1307 Figure 138, Initial Expert Report of Robin S. Lee Monthly coverage of exchanges that
  produced data (spend). Zedo is unable to determine the substance of the document based on the
  description provided, and requests that an unredacted version be produced by Plaintiffs for
  evaluation and objection as necessary. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶ 18).


  PTX1317 Figure 9, Initial Expert Report of Gabriel Weintraub Monthly Advertiser Spend for
  AdX and Rival Exchanges. This document includes information regarding Zedo’s impressions

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  trends, which constitutes highly confidential and competitively sensitive information that is not
  public, the disclosure of which would likely cause irreparable harm to Zedo, including the loss of
  competitive advantage and financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶
  19).


  PTX1318 Figure 10, Initial Expert Report of Gabriel Weintraub Monthly Net Revenue for AdX
  and Rival Exchanges. This document includes information regarding Zedo’s revenue trends,
  which constitutes highly confidential and competitively sensitive information that is not public,
  the disclosure of which would likely cause irreparable harm to Zedo, including the loss of
  competitive advantage and financial harm. See July 26 Declaration of Roy de Souza (Exhibit 1 ¶
  20).
                                          CONCLUSION

         WHEREFORE, for the foregoing reasons, Zedo, Inc. respectfully requests that this

  Honorable Court grant Zedo’s request to redact Zedo’s name in the trial exhibits proposed by

  Plaintiffs, or alternatively to use a surrogate name, such as ABC, Inc. A proposed Order is

  attached as Exhibit 2.

  Dated: July 26, 2024                             Respectfully submitted,

                                                   /s/
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